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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
______________________________________________________________________________

CONSUMER FINANCIAL PROTECTION                               Civil Action No. 1:20-cv-04176
BUREAU,
                   Plaintiff,                               Judge Franklin U. Valderrama
               v.                                           Magistrate Judge Gabriel A. Fuentes



TOWNSTONE FINANCIAL, INC., et al.,
                  Defendants.
_____________________________________________________________________________


                                   MOTION TO COMPEL

       Defendants Townstone Financial Inc. and Barry Sturner respectfully move that this

Court, under Fed. R. Civ. P. 34 and 37, compel Plaintiff Consumer Financial Protection Bureau

to provide full discovery responses to their Document Requests. Townstone seeks documents

in CFPB’s possession concerning Townstone’s political and social viewpoints, as well as those

of Chicago AM radio stations. See Defendants’ Request for Document Production Nos. 34–38;

41–42. These are relevant and proportional to the needs of the case, are nonprivileged, and they

would not impose an undue burden on the CFPB.

       The parties have discussed their respective discovery disputes on multiple occasions,

including the specific Document Requests sought in this motion on August 17 at 9:00 a.m.,

October 21 at 3:30 p.m., and November 2, 2022 at 12:00 p.m., when the parties met and

conferred via video conference to discuss outstanding discovery issues. Attending on behalf of

Plaintiff were Jacob Schunk and Gregory Jones. On behalf of Defendants were Steven Simpson,

Oliver Dunford, Jessica Thompson, and John Kerkhoff. Defendants also discussed their

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discovery position via letters on August 23, 2022, October 3, 2022, and November 3, 2022.

After a good-faith effort, the parties agreed that they had reached an impasse as to RFPs 34–38

and 41–42, necessitating this Motion. Plaintiff opposes the Motion. As part of the meet and

confers, the parties agreed to simultaneously file motions to compel and to submit, to Judge

Fuentes’ chambers, a proposed scheduling order for response and reply briefs.

 Dated: November 14, 2022.

                                                    Respectfully submitted,

                                                    /s/ Steven M. Simpson
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certify that on November 14, 2022, I electronically filed the

foregoing document with the Clerk of the Court via the CM/ECF system, which will cause a

copy to be served upon counsel of record.

                                                   /s/ Steven M. Simpson
                                                   STEVEN M. SIMPSON




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